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                                              15
 Fill in this information to identify the case:

 Debtor name            WC Alamo Industrial Center, LP

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF TEXAS

 Case number (if known)               22-10226
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $        5,160,370.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $            81,095.91

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        5,241,465.91


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        3,237,991.73


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $               2,867.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$          181,150.05


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          3,422,008.78




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                                               15
 Fill in this information to identify the case:

 Debtor name          WC Alamo Industrial Center, LP

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         22-10226
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     Bank of America (hold placed on bank
            3.1.     account by Seth Kretzer)                               checking                         4554                                           $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                             $0.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     San Antonio Water Systems utility deposit                                                                                           $273.00



                     Border Wholesale security deposit
            7.2.     (may be subject to setoff as they owe back rent)                                                                              $32,260.00




            7.3.     American Freight security deposit                                                                                             $13,566.54
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor            WC Alamo Industrial Center, LP                                              Case number (If known) 22-10226
                   Name




            7.4.     Stevens Glass Block security deposit                                                                             $1,974.56



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment

 9.         Total of Part 2.                                                                                                     $48,074.10
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                                0.00    -                                0.00 = ....             Unknown
                                              face amount                        doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                           $0.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No.   Go to Part 6.
       Yes Fill in the information below.

 Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No.   Go to Part 7.
       Yes Fill in the information below.

 Part 7:           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       No.   Go to Part 8.
       Yes Fill in the information below.

 Part 8:           Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

       No.   Go to Part 9.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 2
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 Debtor         WC Alamo Industrial Center, LP                                                Case number (If known) 22-10226
                Name


     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used    Current value of
            property                                      extent of           debtor's interest        for current value        debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Industrial/warehouse
                     building located at
                     635-639 Lanark Dr.,
                     San Antonio, TX
                     78218                                fee simple                        $0.00      Tax records                      $5,160,370.00




 56.        Total of Part 9.                                                                                                          $5,160,370.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                 Current value of
                                                                                                                                 debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         WC Alamo Industrial Center, LP                                               Case number (If known) 22-10226
                Name

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Claims against Alamo Lanark, LLC and related entities
           including claims alleged in WC Alamo Industrial Center,
           LP vs. Alamo Lanark, LLC in the 288th District Court of
           Bexar County, Texas, Cause No. 2021CI03565                                                                               Unknown
           Nature of claim
           Amount requested                                              $0.00



           Claims against Seth Kretzer                                                                                            $33,021.81
           Nature of claim        conversion, unlawful/improper
                                  taking
           Amount requested                          $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                   $33,021.81
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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 Debtor          WC Alamo Industrial Center, LP                                                                      Case number (If known) 22-10226
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $48,074.10

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $5,160,370.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $33,021.81

 91. Total. Add lines 80 through 90 for each column                                                              $81,095.91          + 91b.            $5,160,370.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $5,241,465.91




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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                                               15
 Fill in this information to identify the case:

 Debtor name          WC Alamo Industrial Center, LP

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)              22-10226
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Alamo Lanark LLC                              Describe debtor's property that is subject to a lien              $2,898,162.57            $5,160,370.00
        Creditor's Name                               Industrial/warehouse building located at
        500 W. 2nd Street, Ste.                       635-639 Lanark Dr., San Antonio, TX 78218
        1900
        Austin, TX 78701-4687
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.
                                                       Disputed
        1. Alamo Lanark LLC
        2. Bexar County Tax
        Assessor-Collector
        3. CC2 TX LLC

        Bexar County Tax
 2.2                                                                                                                      $146,335.45            $5,160,370.00
        Assessor-Collector                            Describe debtor's property that is subject to a lien
        Creditor's Name                               Industrial/warehouse building located at
        PO Box 839950                                 635-639 Lanark Dr., San Antonio, TX 78218
        San Antonio, TX
        78283-3950
        Creditor's mailing address                    Describe the lien
                                                      2021 property taxes
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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 Debtor       WC Alamo Industrial Center, LP                                                          Case number (if known)       22-10226
              Name


        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
           Yes. Specify each creditor,                Unliquidated
        including this creditor and its relative       Disputed
        priority.
        Specified on line 2.1

 2.3    CC2 TX LLC                                    Describe debtor's property that is subject to a lien                     $193,493.71       $5,160,370.00
        Creditor's Name                               Industrial/warehouse building located at
        14800 Landmark Blvd. Ste.                     635-639 Lanark Dr., San Antonio, TX 78218
        400
        Dallas, TX 75254
        Creditor's mailing address                    Describe the lien
                                                      2020 property taxes
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
           Yes. Specify each creditor,                Unliquidated
        including this creditor and its relative       Disputed
        priority.
        Specified on line 2.1

                                                                                                                               $3,237,991.7
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         3

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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                                                15
 Fill in this information to identify the case:

 Debtor name         WC Alamo Industrial Center, LP

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)          22-10226
                                                                                                                                                          Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $2,867.00     $0.00
           Texas Comptroller of Public                               Check all that apply.
           Accounts                                                   Contingent
           P.O. Box 13528, Capitol Station                            Unliquidated
           Austin, TX 78711-3528                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $248.98
           Accurate Pest Control                                                    Contingent
           PO Box 34775                                                             Unliquidated
           San Antonio, TX 78265                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     pest control services
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     $4,964.38
           Alliance Tax Advisors                                                    Contingent
           433 E. Las Colinas Blvd., Ste. 300                                       Unliquidated
           Irving, TX 75039                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 4
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 Debtor       WC Alamo Industrial Center, LP                                                          Case number (if known)            22-10226
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,659.52
          Allied Fire Protection SA, LP                                       Contingent
          PO Box 47864                                                        Unliquidated
          San Antonio, TX 78265
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No     Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $497.28
          Best Landscapes                                                     Contingent
          4393 Stahl Rd.                                                      Unliquidated
          San Antonio, TX 78217                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    landscaping services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $175.00
          City of San Antonio Alarms Office                                   Contingent
          315 S. Santa Rosa St.                                               Unliquidated
          San Antonio, TX 78207                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,921.97
          CPS Energy                                                          Contingent
          PO Box 2678                                                         Unliquidated
          San Antonio, TX 78289-0001                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,151.56
          Davis, Cedillo & Mendoza Inc.                                       Contingent
          755 E. Mulberry Avenue, Suite 250                                   Unliquidated
          San Antonio, TX 78212                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    legal services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $893.06
          Dean Howell, Inc.                                                   Contingent
          616 Delaware                                                        Unliquidated
          San Antonio, TX 78210                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $465.49
          Firetrol Protection Systems                                         Contingent
          4616 W. Howard Lane, Ste. 700                                       Unliquidated
          Austin, TX 78728                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 4
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 Debtor       WC Alamo Industrial Center, LP                                                          Case number (if known)            22-10226
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,109.18
          Geary Porter & Donovan PC                                           Contingent
          PO Box 700248                                                       Unliquidated
          Dallas, TX 75370-0248                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,180.47
          LED of San Antonio LLC                                              Contingent
          13119 Lookout Ridge                                                 Unliquidated
          San Antonio, TX 78233                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $254.40
          Malley & Malley, LP                                                 Contingent
          5615 Bicentennial Dr., Ste. 101                                     Unliquidated
          San Antonio, TX 78219                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,442.98
          Mechanical Maintenance of Texas                                     Contingent
          Ward Systems LLC                                                    Unliquidated
          2121 Cee Gee                                                        Disputed
          San Antonio, TX 78217
                                                                             Basis for the claim:    services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $319.34
          PJS of Texas, Inc.                                                  Contingent
          PO Box 678545                                                       Unliquidated
          Dallas, TX 75267-8545                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,792.88
          Prestonwood Landscape Services LLC                                  Contingent
          PO Box 542466                                                       Unliquidated
          Dallas, TX 75354-2466                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $96,076.19
          Reed Smith LLP                                                      Contingent
          2850 N. Harwood St., Ste. 1500                                      Unliquidated
          Dallas, TX 75201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    legal services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 4
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                                                15
 Debtor       WC Alamo Industrial Center, LP                                                          Case number (if known)            22-10226
              Name

 3.17      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,784.19
           Samuels Glass Company LLC                                          Contingent
           3011 NE Loop 410, Ste. 120                                         Unliquidated
           San Antonio, TX 78218                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $863.62
           San Antonio Water Systems                                          Contingent
           PO Box 2990                                                        Unliquidated
           San Antonio, TX 78299                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,225.62
           Texas Fifth Wall Roofing Systems Inc.                              Contingent
           3300 Duke Rd.                                                      Unliquidated
           Austin, TX 78724                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $9,954.94
           Texas Parking Lots                                                 Contingent
           231 Highway 46 West                                                Unliquidated
           Boerne, TX 78006                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $169.00
           Will's All Pro Plumbing                                            Contingent
           & Air Conditioning                                                 Unliquidated
           7847 Fortune Dr.                                                   Disputed
           San Antonio, TX 78250
                                                                             Basis for the claim:    services
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                         2,867.00
 5b. Total claims from Part 2                                                                            5b.    +   $                       181,150.05

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          184,017.05




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 4
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                                                15
 Fill in this information to identify the case:

 Debtor name         WC Alamo Industrial Center, LP

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         22-10226
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  real property lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                                           639 Lanark LLC
                                                                                     (as assignee of AK Rashidzada Corp.)
              List the contract number of any                                        639 Lanark Dr. #106
                    government contract                                              San Antonio, TX 78218-1830


 2.2.         State what the contract or                  Industrial/Warehouse
              lease is for and the nature of              lease
              the debtor's interest

                  State the term remaining                expires 8/2025             American Freight Inc.
                                                                                     Attn: Donna Taucher, DVP, Real Estate
              List the contract number of any                                        109 Innovation Court, Ste. J
                    government contract


 2.3.         State what the contract or                  Industrial/Warehouse
              lease is for and the nature of              lease
              the debtor's interest

                  State the term remaining                expires 11/2022            Border Wholesale Inc.
                                                                                     Attn: Sayed Hussain Nasafi
              List the contract number of any                                        3231 Monarch
                    government contract                                              San Antonio, TX 78259


 2.4.         State what the contract or                  Industrial/Warehouse
              lease is for and the nature of              lease
              the debtor's interest

                  State the term remaining                month to month             Stevens Glass Block LLC
                                                                                     Attn: Robert E. Stevens
              List the contract number of any                                        5726 Bear Lake Dr.
                    government contract                                              San Antonio, TX 78244




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 2
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                                                15
 Debtor 1 WC Alamo Industrial Center, LP                                                     Case number (if known)   22-10226
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   property management
             lease is for and the nature of               contract
             the debtor's interest

                  State the term remaining
                                                                                     WCRE Management LLC
             List the contract number of any                                         814 Lavaca St.
                   government contract                                               Austin, TX 78701




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
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                                              15
 Fill in this information to identify the case:

 Debtor name         WC Alamo Industrial Center, LP

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         22-10226
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
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